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April 15, 2020 |
Honorable Alvin K. Hellerstein
United States District Judge \V
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: - v. Castelle,
18 Cr. 15 (AKH)

Dear Judge Hellerstein:

We represent Eugene Castelle on appeal from the judgment of conviction
and sentence entered in the above-captioned case. On April 3, 2020 the Court
released Mr. Castelle on bail pending appeal, with conditions that included
that he “shall remain self-quarantined ... for 14 days after his release, subject
to location monitoring .... On the tenth day of such self-quarantine, Defendant
shall call Pretrial Services to report his condition and to schedule an
appointment for the placement of location-monitoring equipment.” Mr.
Castelle has been in contact telephonically with Pretrial Services on several
occasions since his release.

I have been in periodic contact with Mr. Castelle, who reported he had
been seriously ill during the first many days of his quarantine — with symptoms
suggesting COVID-19, but is presently improving. Pretrial Services Officer
Ashley Cosme informed me today that Mr. Castelle has reported his condition
similarly to her, adding that he has not been tested for COVID-19 but does
believe he was afflicted by it. Ms. Cosme therefore suggested I write to the
Court “to advise of the defendant’s symptoms and request that an additional
14 days of quarantine be ordered prior to the installation of location monitoring
otherwise, the defendant will be in violation of his conditions.”

~~ T believe Ms. Cosme’s request is in both Mr. Castelle’s interest and in
the interest of those who will need to interact with him when he obtains his
monitoring device. Therefore, I respectfully request that the Court grant Mr.

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Castelle an additional 14 days to remain at home before being set up for
location monitoring. ——

 

 

 

Thank you for considering this application.

Respectfully submitted,

 

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Pei i,
Richard Levitt
cc: AUSA Jacob Fiddelman
Pretrial Services Officer Ashley Cosme ,
